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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION )
    OPIATE LITIGATION             )
                                                               MDL No. 2804
                                  )
                                  )
                                                               Case Nos. 1:17-md-2804
    THIS DOCUMENT RELATES TO:     )
                                                                         1:18-op-45817
                                  )
    Track 8: Cobb County, Georgia )
                                                               Judge Dan Aaron Polster
                                  )
                                  )

     NOTICE OF FILING REDACTED/UNREDACTED VERSIONS OF DEFENDANT
    PUBLIX SUPER MARKETS, INC.’S OPPOSITION TO PLAINTIFF’S MOTION FOR
         PARTIAL SUMMARY JUDGMENT AND SUPPORTING MATERIALS

        Defendant Publix Super Markets, Inc. hereby provides notice of, and files into the public

record, un-redacted versions of Publix’s August 9, 2024 Opposition to Plaintiff Cobb County’s

Motion for Partial Summary Judgment, and exhibits 1–30 and 32–45 attached thereto, along with

redacted versions of exhibits 31 & 46 attached thereto, as follows: ∗

        Ex. 31: 4/3/2019 Publix Pharmacy Reference & Procedure Guide, with redactions to PDF
        pages 195, 299, 302, and 341.

        Ex. 46: 10/9/2018 Publix Pharmacy Controlled Substances Policy, with redaction to PDF
        page 15.

        Publix and Cobb County reached complete agreement as to the foregoing redactions, and

on August 19, 2024, Special Master Cohen confirmed (via email) that the foregoing redactions

were approved and that Publix’s August 9, 2024 Opposition to Plaintiff Cobb County’s Motion

for Partial Summary Judgment and supporting materials could be filed on the docket with only the

redactions to exhibits 31 and 46 as set forth herein.



∗
 On August 9, 2024, Publix filed its notice of service of its opposition and exhibits 1–46 attached thereto.
See ECF 5583. The instant notice of filing redacted/unredacted versions relates to that filing.
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       Accordingly, the attached August 9, 2024 Opposition to Plaintiff Cobb County’s Motion

for Partial Summary Judgment and exhibits 1–30 and 32–45 can be and are hereby filed publicly

without redactions, and the attached exhibits 31 & 46 can be and are hereby filed publicly with

redactions as described above.



Dated: August 20, 2024                     Respectfully submitted,

                                           /s/ Kara M. Kapke
                                           Kara M. Kapke (IN 25906-49)
                                           Meredith Thornburgh White (IN 28094-49)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2024, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may

be obtained through, the Court’s CM/ECF system.



                                             /s/ Kara M. Kapke
                                             Kara M. Kapke




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